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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION
  ____________________________________
                                         )
  STATE OF ARIZONA, et al.,              )
                                         )
                            Plaintiffs,  )
                                         )
              v.                         )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                         )
  CENTERS FOR DISEASE CONTROL            )
  & PREVENTION, et al.,                  )
                                         )
                            Defendants.  )
  _____________________________________)

      NOTICE OF FILING OF SECOND DECLARATION OF BLAS NUÑEZ-NETO

         Pursuant to the representations made by Defendants’ counsel at the April 25, 2022 status

  conference, attached is the second declaration of Blas Nuñez-Neto, Acting Assistant Secretary for

  Border and Immigration Policy at the U.S. Department of Homeland Security, providing

  information sought by the Plaintiffs in connection with their emergency motion.

  Dated: April 27, 2022                                Respectfully submitted,

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                                                       Principal Deputy Assistant Attorney General
                                                       U.S. Department of Justice, Civil Division

                                                       JEAN LIN
                                                       Special Litigation Counsel (NY #4074530)

                                                       /s/ JONATHAN D. KOSSAK
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